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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION
Berkeley County School Board of Trustees,       ) Civil Action No.: 2:18-cv-00151-DCN
                                                )
       Plaintiff,                               )
                                                )
                      v.                        )
                                                ) DEFENDANT SCOTT POKORNEY’S
HUB International Limited, HUB International    ) RESPONSE AND CONSENT TO HUB
Midwest Limited, Hub International Southeast,   )       DEFENDANTS’ MOTION TO
Knauff Insurance Agency, Inc., Stanley J.       )  ENLARGE FOR ALL DEFENDANTS
Pokorney, Scott Pokorney, and Brantley          ) THE TIME FOR FILING AN ANSWER
Thomas,                                         )          OR RULE 12 MOTION
                                                )
       Defendants                               )
                                                )

       Defendant Scott Pokorney, by and through his undersigned counsel, hereby files this

Response and Consent to the Motion by Defendants HUB International Limited and HUB

International Midwest Limited to Enlarge for all Defendants the Time for Filing an Answer or

Rule 12 Motion (ECF Doc. No. 26) and incorporates the arguments made therein. For the

reasons set forth in the HUB Defendants’ Motion, Defendant Scott Pokorney respectfully

requests that the Court extend the date by which each Defendant, including Scott Pokorney, is to

file an answer or motion under FRCP Rule 12 until fourteen (14) days after the Court rules on

the pending Arbitration Motion.




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                                        ATTORNEYS FOR DEFENDANT SCOTT
March 7, 2018                           POKORNEY
Charleston, South Carolina




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